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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                    Plaintiff,


v.                                                            Case No. 05-80025
                                                              Hon. Victoria A. Roberts

KHAYYAM WILSON,

                Defendant.
_____________________________________________________________________


                ORDER DENYING MOTION FOR WRITTEN FINDINGS

      This matter is before the Court on Defendant’s request for written findings

pursuant to 18 USC §3142(i).

      The Defendant, Khayyam Wilson, was ordered to be detained pending trial on

November 15, 2005 by Magistrate Judge Donald A. Scheer. Defendant is accused of

armed bank robbery and premeditated murder. On January 20, 2006, Defendant filed a

motion to vacate the detention order. Following a hearing held on January 30, 2006,

the motion to vacate the detention order was denied.

      At the hearing, detailed findings of fact and reasons for denial of the motion to

vacate were placed on the record. A written order was not filed. Defendant alleges the

Court was required by §3142(i) to make written findings of fact accompanied by a

written statement of the reasons for the detention. Section 3142(i) provides:

      (i) Contents of detention order. - In a detention order issued under
      subsection (e) of this section, the judicial officer shall -

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      (1) include written findings of fact and a written statement of the reasons
      for the detention;
       ...
Section 3142(e) provides that, upon certain findings, pretrial detention shall be ordered.

       Magistrate Scheer’s written order contains findings of fact and specific reasons

for detention. [Doc. 84]. The order contains the specific findings that were made and

specific statements of the reasons for detention.

       The requirement of §3142(i) was satisfied by Magistrate Scheer’s written order

for pretrial detention. The statute requires that a judicial officer issue written findings. A

magistrate’s written findings satisfy §3142(i). U.S. v. Koenig, 912 F.2d 1190, 1192 (9th

Cir. 1990); U.S. v. Vortis, 785 F.2d 327, 328 (D.C.Cir. 1986); and U.S. v. Maull, 773

F.2d 1479, 1482 (8th Cir. 1985). See also U.S. v. Thornton, 787 F.2d 594, *1, (6th Cir.

1986)(unpublished)(“[the magistrate], a judicial officer, made written findings of fact and

stated the reasons for detention pursuant to §3412(i). The district court, on review,

made further oral findings setting out [its] reasons for ratifying the action of the

magistrate with respect to bail. Section 3142(i) and Rule 9(a) of the Federal Rules of

Criminal Procedure impose no requirement beyond what was done in this case.”).

       This Court held a review hearing and made its own findings of fact and reasons

for detention. It outlined the crime Defendant was allegedly involved in; that Defendant

faces the death penalty; that he was alleged to have carried a handgun during

commission of the crime; and, that Defendant drove the getaway car. The Court also

considered the weight of the evidence against Defendant, based on the Government’s

proffer. While the Court found that Defendant’s history and characteristics as well as no

evidence that he posed a danger to the community weighed in favor of release, it


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nonetheless ordered continued detention based on the nature and circumstances of the

offense charged and the weight of the evidence.

       These findings were placed on the record and a written transcript is available.

These findings, coupled with the Magistrate’s written findings, are sufficient. Therefore,

the Court DENIES Defendant’s Motion and Incorporated Memorandum In Support Of

Request For Written Findings.

       IT IS SO ORDERED.


                                              /s/ Victoria A. Roberts
                                              Victoria A. Roberts
                                              United States District Judge

Dated: March 3, 2006

 The undersigned certifies that a copy of
 this document was served on the
 attorneys of record by electronic means or
 U.S. Mail on March 3, 2006.

 s/Linda Vertriest
 Deputy Clerk




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